LAW OFFICES GF GARY R. CARLIN APC
301 EAST OCEAN BOULEVARD, SUITE 1550

LONG BEACH, CALIFORNIA 90802

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Attorneys for Plaintiffs:

DINNERMAN, FEINBERG, PACIFIC INFORMATION
TECHNOLOGIES, and PACIFIC BUSINESS KK, and
TECHNOLOGY DESIGN SYSTEMS, LTD.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Page ID #:1

JOSHUA DAVID DINNERMAN,
individually and on behalf of all others
similarly situated; PAUL FEINBERG,
individually and on behalf of all others
similarly situated; PACIFIC
INFORMATION TECHNOLOGIES, an
Arizona corporation; PACIFIC
BUSINESS Kk, a Tokyo Japan
corporation; and TECHNOLOGY
DESIGN SYSTEMS, LTD., a Hong Kong
corporation,

Plaintiffs,
vs
DATTO, INC., a Connecticut corporation,
as such has a regional office in Irvine,
CA; and OPEN MESH, INC., an Oregon

corporation,

Defendants.

Civil Docket No.:

CLASS ACTION COMPLAINT

(1)

(2)

(3)

(4)

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(6)

(7)

(8)
(9)

Breach of the Magnuson-Moss Warranty Act
[15 U.S.C. 2301 et seq.]

False Advertising — California Business and
Professions Code §17200 et seq.;

Violations of Unfair Business Practice Act ~
California Business and Professions Code
§17200 et seq.;

Violation of Consumer Legal Remedies Act;

Breach of Contract;

Breach of Implied Covenant of Good Faith
and Fair Dealing

Breach of Implied Warranty of
Merchantability;

Intentional Misrepresentation; and

Negligence;

[Plaintiffs Demand a Trial by Jury]

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1 Plaintiffs, by their undersigned attorneys, for their Class Action Complaint (Complaint)

2 || against Defendants, alleges as follows:

JURISDICTION AND VENUE

5 1. Jurisdiction of this Court is based on 28 USC § 1332, diversity of citizenship,
6 || and 28 USC § 1603 (a) and (b).
7

g 2. This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.
9 | § 1332(a)(d)(2)(B)(4) and 28 USC § 1603 (a) and (b). The aggregate value of the claims of all
10 || members of the proposed class and subclass(es) are in excess of ten million dollars , exclusive
11 || of interest and costs. Many members of the proposed class are citizens of a state and/or country

12 || different from Defendant.

14 3. Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action
15 || because a substantial part of the events, omissions, and acts giving rise to the claims herein
16 || occurred in this District where DEFENDANTS and each of them, distributed, marketed,
17 || advertised, and sold the trading devices which are the subject of the present complaint. Venue is
18 || also appropriate in this District pursuant to 28 USC § 1391(b)(2) because a substantial part of
19 || the acts and omissions that gave rise to this Complaint occurred in or emanated from this

90 || District.

22 4. DEFENDANT DATTO is authorized to do business and does conduct business

23 || in California and has specifically marketed, advertised, and made substantial sales in California.

95 5. DEFENDANT OPEN MESH has sufficient minimum contacts with this state and
76 || avails itself of the laws of the District and state of California by marketing its products,

97 || advertising them, and selling them within this District. The exercise of jurisdiction does not

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1 || “offend the traditional notions of fair play and substantial justice” (Zmternational Shoe Co, v.

2 || Washington (1945) 326 U.S. 310).

3

4 6. DEFENDANT DATTO has a place of business in the District from an office at
5 | 400 Spectrum Center Dr., Ste. 2100, Irvine, CA 92618.

6

7 SUMMARY OF THE ACTION

8 7. Users of Defendants' devices were promised a “lifetime cloud license”,
9 || “automatic firmware updates” and other features. Plaintiffs allege that the Defendants promoted

16 || false advertising upon purchasing OPEN MESH devices and in fact did not provide the features
11 || that were promised unless consumers agreed to pay a monthly maintenance fee for a cloud
12 || license to continue receiving the promised benefits and features. Without the cloud license the
13 || devices are rendered useless. Plaintiffs and Class members lost economic gain and suffered
14 || financial loss due to Defendants' false advertising and deception. Plaintiffs and Class members

15 || seek special, compensatory, punitive damages, and an injunction.

16
17 PARTIES
18 8. Plaintiff Paul Feinberg (“FEINBERG”) was and is a citizen of the United States,

19 || and a permanent residence in Japan.

20

21 9. Joshua David Dinnerman (“DINNERMAN”) was and is a citizen of the United
22 | States.

23

24 10. Pacific Information Technologies, Inc is an Arizona corporation with its principal

25 || place of business at 916 E. Baseline Rd., #106, Mesa, Arizona.

27 11. Pacific Business KK is a Tokyo Japan corporation with its principal place of

28 || business at Mukai Building, 5" Bloor, 1-13-14 Sekiguchi, Bunkyo-ku, Tokyo 112-0014.

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1 12. Technology Design Systems, Ltd., is a Hong Kong, China corporation with its
2 || principal place of business at Unit 06B, Viking Technology and Business Center, 93 Ta Chuen
3 || Ping St., Kwai Chung NT, Hong Kong.

4
5 13. Class members are all those members of the American public and many foreign
6 || countries who are similarly situated as the named Plaintiffs.
7
§ 14. Defendant Datto, Inc., (““DATTO”) is a Connecticut corporation with its principal
9 || place of business at 101 Merrit 7, Ste. 7, Norwalk, Connecticut 06851-1052, as is qualified to do
10 || business and is doing business in California, and has substantial contacts in California.
1]
12 15. Defendant Open Mesh, Inc, (“OPEN MESH”) is an Oregon corporation with its

13 || principal place of business at 5 Centerpoint Dr., Ste. 400, Lake Oswego, Oregon 97035-8661.

14 |, Upon information and belief, it is a wholly-owned Subsidiary of Defendant Datto, Inc.

15
16 FACTUAL ALLEGATIONS
17 16. Defendants, and each of them, produce cloud-managed network devices. Their

18 || customers use these devices not only for internet activity and Wi-Fi, but also as a scalable
19 || foundation for a variety of other Internet of Things (loT) cloud managed devices and systems, to

30 || wit; cameras, sensors, point of purchase systems, etc.

22 17. OPEN MESH provided a cloud-managed platform called CLOUDTRAX for
33 || networks and network devices which connected to this platform. DATTO, upon their purchase
94 || of OPEN MESH took over this platform under DATTO. The platform provides secure internet

25 |) connectivity and device control, management and monitoring to consumers and businesses.

77 18. OPEN MESH programmed, advertised, sold, and distributed access points,

2g || switches, and routers with lifetime cloud licenses and automatic firmware/software updates.

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1 19, OPEN MESH advertised a “lifetime cloud license” along with other features. A

2 || true and correct copy of the warranty advertised on the box is attached and labeled as Exhibit

3 || “A”.

4

5 20. DATTO and OPEN MESH devices use CLOUDTRAX, a cloud-based network

6 || controller. Without CLOUDTRAX and the “lifetime cloud license”, the devices cannot and do

7 || not operate properly absent payment of a monthly maintenance fee hereinafter referenced.

8

9 21. In or about late 2016 DATTO acquired OPEN MESH. Once DATTO acquired
10 || OPEN MESH, it adopted a new pricing model which required all users to have to pay a monthly

11 || fee to maintain CLOUDTRAX and continue receiving the benefits of the “lifetime cloud
12 || license”. This model leaves former users with the option to pay the monthly fee or
13 || completely/partially replace their hardware and switch to another provider. This model
14 || contradicts the basis on when the devices were purchased, which was that there would be no

15 || monthly fee.

17 22, On or about November 3™, 2016 FEINBERG purchased multiple OPEN MESH
18 || devices, including but not limited to 6 (six) OM5 P-AC-NA access points priced at $120.15 per
19 || unit; 1 (one) Cloud Managed Switch priced at $269.10; and 11 (eleven) OM5 P-AC-PS access

90 || points. The total purchase price was $2,366.65,

22 23. On or about January 31°, 2017 DATTO announced their acquisition of OPEN

23 || MESH to the public.

25 24. On or about March 15", 2017 FEINBERG entered into an International
26 || Distributor Agreement with OPEN MESH, allowing him to receive units of OPEN MESH
97 || devices, but no written agreement was executed.

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25. In or about the middle of 2021 one of FEINBERG’s OPEN MESH devices failed
and disconnected from the Wi-Fi. FEINBERG had a spare OPEN MESH device that he wanted
to use, but it was set up on another network. To remove the device from the old network and

make it usable, he had to contact OPEN MESH and DATTO.

26, FEINBERG contacted OPEN MESH’s customer support multiple times through
phone calls and emails, but was never able to reach OPEN MESH and never received a response

to his numerous attempts to contact OPEN MESH.

27, FEINBERG then contacted DATTO’s customer support to no avail. DATTO
claimed that because the devices were not from their company they couldn’t provide
FEINBERG with much assistance. The DATTO customer support agent mentioned to
FEINBERG that if he purchased a monthly subscription from DATTO for CLOUDTRAX, that

it could bring his devices back online.

28. On or about October 2™, 2021 DINNERMAN purchased four (4) OPEN MESH
access points. DINNERMAN encountered the same problem with the devices as FEINBERG.
DINNERMAN’s OPEN MESH devices could not be disconnected from the previous user’s

network unless he paid a monthly fee to DATTO.

29, At all times mentioned hereto, DATTO has not allowed for their devices to be

unlocked and used with another network platform.

30. Plaintiffs are informed and believe that DATTO issued an “End of Life” and
“End of Support” statement to all its users informing them that their lifetime cloud license and
customer support would be cut off by December 31", 2021, absent their agreement to pay a

monthly maintenance fee.

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1 31. DATTO contacted OPEN MESH distributor’s clients to persuade them to switch
2 || to DATTO.

3

4 32. Plaintiff FEINBERG is informed and believes and thereon alleges that in or

5 || about early 2017 DATTO cut off OPEN MESH’s customer support.

33. Plaintiff FEINBERG is informed and believes and thereon alleges that in or
g ij} about early 2017 DATTO began ending support and automatic updates for OPEN MESH

9 | devices.

11 34. As a direct and proximate result of DATTO’s business model change, Plaintiffs
12 || and Class Members, like so many others, lost out on significant investments and prospective

13 || profits to their damage.

14
15 CLASS ACTION ALLEGATIONS
16 35. Plaintiffs bring claims pursuant to Federal Rules of Civil Procedure Rule 23 (a)

17 || and (b)(3) on behalf of the following Class, as defined below: All PLAINTIFFS and each of
18 || them, consumers who bought OPEN MESH devices that require a connection to CLOUDTRAX

19 || to function during 2007 through and including the present.

21 36, Additionally, Plaintiffs brings claims pursuant to Federal Rules of Civil
92 || Procedure Rule 23 (a) and (c})(5) on behalf of the following Subclass, as defined below: All
23 || DISTRIBUTORS and each of their customers who bought OPEN MESH devices that require a

34 || connection to CLOUDTRAX to function during 2007 through and including the present.

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1 37. This action has been brought and may properly be maintained as a class action
2 || against ALL DEFENDANTS and each of them, pursuant to the provisions of Federal Rules of
3 || Civil Procedure Rule 23 (b) and (c)(4).

5 38. Numerosity: The precise number of members of the proposed Class is unknown
6 || to Plaintiffs at this time, but, based on information and belief, Class members are so numerous
7 || that their individual joinder herein is impracticable. Based on information and belief and
8 || publicly available reports, Class members number in the hundreds of thousands. Subclass
9 |} members are likely in the hundreds. All Class and Subclass members may be notified of the
10 |i pendency of this action by reference to DEFENDANTS and each of their records or by other

11 alternative means.

13 39, Commonality: Numerous questions of law or fact are common to Plaintiffs’
14 || claims and members of the proposed Class. These common questions of law and fact exist as to
15 || all Class members and predominate over questions affecting only individual Class members.

16 || These common legal and factual questions include, but are not limited to the following:

18 a. Whether DEFENDANTS and each of them made a practice of knowingly selling
19 || the OPEN MESH CLOUDTRAX supported devices under the pretense of providing lifetime
3209 || cloud license and support, nevertheless knowing that they were going to end the lifetime cloud

21 || license and support, unless and until consumers agreed to pay a monthly maintenance fee;

23 b. Whether DEFENDANTS and each of them made a practice of selling the OPEN
24 || MESH CLOUDTRAX supported devices purposefully with the intent to gain more customers

95 || that would have to eventually pay the monthly maintenence fees;

27 c. Whether in doing so, DEFENDANTS and each of them regularly, routinely and

28 || with impunity violated the Magnuson-Moss Warranty Act.

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d. Whether in doing so, DEFENDANTS and each of them made a practice of
violating consumer protection laws in failing to disclose their changes in the cloud license and

support policy;

e. Whether in doing so, DEFENDANTS and each of them were in multiple
breaches of their contracts and the implied covenant of good faith and fair dealing in connection

with their failure to continue to provide lifetime cloud license and support;

f. Whether DEFENDANTS and each of them regularly and as a practice were
negligent or grossly negligent by failing to continue to provide lifetime cloud license for

customers who had already purchased the OPEN MESH devices;

g. Whether DEFENDANTS and each of them regularly and as a practice breached

their fiduciary duties to customers by failing to provide adequate access to customer support;

h. Whether Plaintiffs and the other Class members suffered damages by
DEFENDANTS’ practices, and if so, the appropriate class-wide measure of damages,

restitution, and other appropriate relief, including injunctive relief,

i. Whether Plaintiffs and the other Class members are entitled to injunctive

equitable and declaratory relief,

40, Typicality: The claims of the named Plaintiffs are typical of the proposed Class's
claims in that the named Plaintiffs were customers and/or distributors during the class period
and are unable to connect devices to Wi-Fi and/or networks, and unable to maintain their
lifetime warranty as a result of DEFENDANTS, and each, of their wrongful conduct.

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41. Adequate Representation: Plaintiffs will fairly and adequately represent the
Class's interests in that he has no conflicts with any other Class members. Plaintiffs have
retained competent counsel experienced in prosecuting complex class actions, including those

involving financial services, and they will vigorously litigate this class action.

42, Predominance and Superiority: There is no plain, speedy, or adequate remedy
other than maintaining this class action. A class action is superior to other available means, if
any, for the fair and efficient adjudication of this controversy. Prosecution of separate actions by
individual Class members would create the risk of inconsistent or varying adjudications,
establishing incompatible standards of conduct for the Defendant. Additionally, given the
relatively modest damages sustained by most individual members, few, if any, proposed Class
members could or would sustain the economic burden of pursuing individual remedies for
DEFENDANTS and each of their wrongful conduct. Treatment as a class action will achieve
substantial economies of time, effort, and expense and provide comprehensive and uniform

supervision by a single court. This class action presents no material difficulties in management.

43. Class action certification is warranted under Fed. R. Civ P. 23(b)(1)(A) because
the prosecution of separate actions by individual members of the proposed Class would create a
risk of inconsistent or varying adjudications with respect to individual Class members, which

may produce incompatible standards of conduct for Defendants.

44. Class action certification is warranted under Fed. R. Civ P. 23(b)(1)(B) because
the prosecution of separate actions by individual members of the proposed Class would create a
risk of adjudications with respect to individual Class members, which may, as a practical matter,
be dispositive of the interests of the other members not parties to the adjudications or
substantially impair or impede their ability to protect their interests.
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45. The prerequisites to maintaining a class action for injunctive or equitable relief
pursuant to Fed. R. Civ. P. 23(b)}(2) are met as DEFENDANTS, and each of them have acted or
refused to act on grounds generally applicable to the Class, thereby making final injunctive,

declaratory, or equitable relief appropriate with respect to the Class as a whole.

46. Class action certification is also warranted under Fed. R. Civ P. 23(b)(3) because
questions of law or fact common to the class members predominate over any questions affecting
only individual members, and a Class action is superior to other available remedies for the fair
and efficient adjudication of this controversy. The amount of damages available to the
individual Plaintiffs are insufficient to make litigation addressing DEFENDANTS, and each of
their conduct economically feasible for most in the absence of the class action procedure.
Individualized litigation also presents a potential for inconsistent or contradictory judgments and
increases the delay and expense to all parties and the court system presented by the case's legal
and factual issues. By contrast, the class action device presents far fewer management
difficulties and provides the benefits of a single adjudication, economy of scale, and

comprehensive supervision by a single court.

47. Class action certification is also warranted under Fed. R. Civ P. 23(c)(4) because
questions of law or fact common to the Class members may be certified and decided by this

Court on a class-wide basis.

CAUSE OF ACTION I
BREACHOF THE MAGNUSON-MOSS WARRANTY ACT
AGAINST DEFENDANTS

48. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

49, Plaintiffs and members of the Class are consumers.

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50. Plaintiffs and members of the Class purchased various devices from OPEN
MESH.

51. DEFENDANTS are the warrantors who made a written warranty.

52. DEFENDANTS’ products failed to perform as warranted.

53. DEFENDANTS and each of their conduct caused Plaintiffs and Class members

harm, loss, and damages and continue to expose them to harm. These losses reflect damages
to Plaintiffs and Class members in an amount to be determined at trial or separate proceedings

as necessary.

CAUSE OF ACTION II
FALSE ADVERTISING — CALIFORNIA BUSINESS AND PROFESSIONS CODE

17200 et seq.
AGAINST DEFENDANTS

54. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

55. California Business & Professions Code § 17500 et seq., also known as
California False Advertising Law, makes it “unlawful for any person, ... corporation or
association, or any employee thereof with intent directly or indirectly to dispose of ...
personal property ... or anything of any nature whatsoever ... to make or disseminate or cause
to be made or disseminated from this state before the public in any state, in any newspaper or
other publication, or any advertising device, or by public outcry or proclamation, or in any
other manner or means whatsoever, including over the internet, any statement, concerning that
... personal property ... or concerning any circumstance or matter of fact connected with the
proposed performance or disposition thereof, which is untrue or misleading, and which is
known, or which by the exercise of reasonable case should be known, to be untrue or

misleading...”

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56. As alleged above, DEFENDANTS disseminated or caused to be disseminated
deceptive advertising of OPEN MESH devices to the general public. Such advertising,
including but not limited to, product packaging, advertising and marketing represented OPEN
MESH devices to come with a lifetime cloud access and support. These advertisements were
false and misleading because DEFENDANTS are now switching over to a monthly fee policy,
forcing existing OPEN MESH users to pay the monthly fee, or switch their devices and

networks to another company.

57. Upon Plaintiffs information and belief DEFENDANTS continue to disseminate

or cause to be disseminated such deceptive promises as alleged herein.

58. The false and deceptive statements regarding the lifetime cloud access and

support is likely to deceive the consuming public.

59. While disseminating or causing to be disseminated the false and deceptive
statements regarding the lifetime cloud access and support, as alleged above, the

DEFENDANTS knew or should have known that the statements were false or misleading.

60. As a direct and proximate result of DEFENDANT’S false and misleading
advertising, Plaintiff and the members of the class have been injured in fact, in that they
purchased OPEN MESH devices with cloud access and support until December 31°, 2021 and
not lifetime cloud access and support as advertised. Plaintiff and members of the class would

not have purchased said devices if they had known the “lifetime” policy would change.

61. DEFENDANTS’ false and misleading advertising as alleged above presents a
continuing harm to Plaintiff, the Class, and members of the public because DEFENDANTS
persist and continue to disseminate false and misleading advertising.

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62. DEFENDANTS and each of their conduct caused Plaintiffs and Class members
harm, loss, and damages and continue to expose them to harm. These losses reflect damages
to Plaintiffs and Class members in an amount to be determined at trial or separate proceedings
as necessary.

CAUSE OF ACTION III
VIOLATIONS OF UNFAIR BUSINESS PRACTICE ACT- CALIFORNIA BUSINESS

AND PROFESSIONS CODE §17200 et seq.
AGAINST DEFENDANTS

63. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

64. California Business & Professions Code § 17200 at seq., also known as the
California Unfair Competition Law (“UCL”), prohibits acts of “unfair competition,” including
any unlawful, unfair, fraudulent, or deceptive business act or practice as well as “unfair,

deceptive, untrue or misleading adverting.”

65. By engaging in the false, deceptive, and misleading conduct alleged above,
DEFENDANTS have engaged in unlawful business acts and practices in violation of the UCL
by violating state and federal laws including but limited to Business & Professions Code §

17500 et seq., which makes false and deceptive advertising unlawful.

66. In addition to being unlawful, DEFENDANTS’ acts, conduct and practices as
alleged above are unfair. DEFENDANTS, through deceptive and misleading advertising and
representations, induced Plaintiff and class members to purchase OPEN MESH devices

believing them to have lifetime cloud access and support.

67. As a direct and proximate result of DEFENDANTS’ unlawful, unfair and
fraudulent business practices, Plaintiff and members of the class have been injured in fact.

They purchased OPEN MESH devices in reliance on DEFENDANTS’ false and misleading

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advertising and representations to the general public regarding the lifetime cloud access and
support. Plaintiffs and the members of the class would have purchased the devices had they

known they were going to change their lifetime policy.

68. DEFENDANTS?’ false and misleading advertising as alleged above presents a
continuing harm to Plaintiffs, the Class, and members of the public because DEFENDANTS

persist and continue to disseminate false and misleading advertising.

69. DEFENDANTS and each of their conduct caused Plaintiffs and Class members
harm, loss, and damages and continue to expose them to harm. These losses reflect damages
to Plaintiffs and Class members in an amount to be determined at trial or separate proceedings

as necessary.

CAUSE OF ACTION IV
VIOLATION OF CONSUMERS LEGAL REMEDIES ACT- ESSENTIAL FACTUAL
ELEMENTS (CIV CODE §1770)
AGAINST DEFENDANTS

70. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

71. Plaintiffs and Class members bought various OPEN MESH devices.

72. That DEFENDANTS and each of them advertised their devices with the intent
to switch their lifetime cloud license to a monthly fee; making false or misleading statements

of fact concerning the lifetime cloud license policy.

73. Plaintiffs and Class members were harmed.

74. Plaintiffs' and Class members' harm directly and proximately resulted from the

DEFENDANT and each of their conduct.

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75. DEFENDANTS and each of their conduct damaged Plaintiffs and Class

members in an amount to be determined at trial or separate proceedings as necessary.

76. DEFENDANTS and each of them acted with fraud, malice, or oppression.
Based on the foregoing, Plaintiffs and class members are entitled to recover punitive damages

from DEFENDANTS and each of them, in an amount according to proof.

CAUSE OF ACTION V

BREACH OF CONTRACT
AGAINST DEFENDANTS

77. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

78. Plaintiffs and Class members entered into a contract with DEFENDANTS

when they purchased the devices.

79. When Plaintiffs and class members purchased the OPEN MESH devices, it

included lifetime cloud access and support.

80. DEFENDANT DATTO failed to maintain the lifetime policy to OPEN MESH

users, even though they were required to do so under the contract.

81. Plaintiffs and Class members were proximately harmed because they now have

no/minimal use of the devices or have to pay a monthly maintenance fee.

82. DEFENDANT?’s breach of contract was a substantial factor in causing Plaintiffs

and Class members’ harm.

83. DEFENDANTS and each of their conduct caused Plaintiffs and Class members

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CLASS ACTION COMPLAINT

LAW OFFICES OF GARY R. CaRLIN APC
301 EAST OCEAN BOULEVARD, SUITE 1550

LONG BEACH, CALIFORNEA 90802

Case

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harm, loss, and damages and continue to expose them to harm. These losses reflect damages
to Plaintiffs and Class members in an amount to be determined at trial or separate

proceedings as necessary.

CAUSE OF ACTION VI
BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
AGAINST DEFENDANTS

84. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

85. Plaintiffs and Class members entered into a contract.

86. Plaintiffs and Class members did all, or substantially all off the significant
things that the contract required them to do. In purchasing, Plaintiffs and Class members

were guaranteed a onetime purchase with no extra added costs to keep the devices

functioning.
87. All conditions required for DEFENDANTS’ performance had occurred.
88. DEFENDANTS ended their lifetime policy and breached the lifetime warranty

contract it had with its consumers who purchased the OPEN MESH devices.

89. By doing so, DEFENDANTS did not act fairly and in good faith.

90. As a direct and proximate result of DEFENDANTS’ conduct, Plaintiffs and

members of the Class were harmed.

91. DEFENDANTS and each of their conduct caused Plaintiffs and Class members

harm, loss, and damages and continue to expose them to harm. These losses reflect damages

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CLass ACTION COMPLAINT

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to Plaintiffs and Class members in an amount te be determined at trial or separate

proceedings as necessary.

CAUSE OF ACTION VII
BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
AGAINST DEFENDANTS

92. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

93. Plaintiffs and members of the Class bought OPEN MESH devices from
distributors of DEFENDANTS.

94, At the time of purchase DEFENDANTS were in the business of selling the

devices to distributors for the general public’s use.

95. The devices did not measure up to the promises or facts stated on the box.
96. Plaintiffs and class members were harmed.
97. DEFENDANTS’ breach of the implied warranty was a substantial factor in

causing Plaintiffs and the members of the Class’ harm.

98. DEFENDANTS and each of their conduct caused Plaintiffs and Class members
harm, loss, and damages and continue to expose them to harm. These losses reflect damages
to Plaintiffs and Class members in an amount to be determined at trial or separate proceedings

as necessary.

99. In doing the acts herein alleged, DEFENDANTS, and each of them, acted with

oppression, fraud, malice, and conscious disregard of Plaintiffs’ and members of the Class

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rights, and Plaintiffs and members of the Class are therefore entitled to punitive damages in

an amount to be determined at trial according to proof.

CAUSE OF ACTION VII
INTENTIONAL MISREPRESENTATION

AGAINST DEFENDANTS

100. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

101. DEFENDANTS represented in writing and advertisement to Plaintiffs and
Class members that with their onetime purchase of the device(s), their cloud license and
customer support would work for the lifetime of the product. A true and correct copy of

OPEN MESH’s website is attached and labeled as Exhibit “B”.

102. DEFENDANTS’ representations were false. In or about late 2016 DATTO
acquired OPEN MESH and changed the lifetime warranty policy to consumers paying a
monthly fee to maintain CLOUDTRAX.

103. DEFENDANTS knew that the lifetime cloud access and support representations
they made were false when they advertised OPEN MESH devices.

104. DEFENDANTS intended for Plaintiffs and Class members to rely on their
lifetime cloud access and support representations in order to induce Plaintiffs and Class

members to purchase the devices.

105. Plaintiffs and Class members reasonably and justifiably relied to their detriment

on said representations.

106. As a direct and proximate result, Plaintiffs and Class members lost monies,

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business, devices, etc.

107, Plaintiffs and Class members detrimental and justifiable reliance on

DEFENDANTS’ false representations was a substantial factor in causing them harm.

108. DEFENDANTS and each of their conduct caused Plaintiffs and members of the
Class and Subclass harm, loss, and damages. These losses reflect damages to Plaintiffs and
members of the Class and Subclass in an amount to be determined at trial or separate

proceedings as necessary.

109, In doing the acts herein alleged, DEFENDANTS, and each of them, acted with
oppression, fraud, malice, and conscious disregard of Plaintiffs’ and members of the Class
rights, and Plaintiffs and members of the Class are therefore entitled to punitive damages in

an amount to be determined at trial according to proof.

CAUSE OF ACTION IX
NEGLIGENCE
AGAINST DEFENDANTS

110. Plaintiffs hereby incorporate by reference the allegations in the above

paragraphs of this Complaint as though fully set forth herein.

111. DEFENDANTS and each of them have a duty to exercise reasonable care due
and cautious care in their packaging, labeling, advertising, and marketing towards their

consumers,

112. DEFENDANTS and each of them unlawfully breached its duties by, among

other things, marketing the devices with false promises that were negligently made.

113. As outlined in this Complaint, DEFENDANTS and each of their conduct were

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negligent in that they lacked due and cautious care, and their individual and collective conduct
is and continues to be a departure from the ordinary standard of conduct. Their actions breach

any duty of due cautious care to their customers.

114. DEFENDANTS and each of them negligently marketed the devices with
including but not limited to “lifetime cloud license” and “automatic updates”, even though it

was not true.

115. DEFENDANTS and each of them intentionally, negligently, and wrongfully
breached their duties owed to Plaintiffs, and members of the Class and Subclass, thereby
proximately caused losses and damages that would not have occurred but for DEFENDANTS
and each of their gross breaches of their duty of due and cautious care. These losses reflect
special compensatory and general damages to Plaintiffs and members of the Class and

Subclass in an amount to be determined at trial or separate proceedings as necessary.

REQUEST FOR RELIEF:

1. Enter an immediate injunction requiring DEFENDANTS to reinstate their Lifetime
warranty and bar their public advertising of the subject devices until said warranties are
reinstated;

2. Certify a Class of Plaintiffs similarly situated to the named representative;

3. Compensatory damages in excess of $75,000;

4. Enter an award for attorneys fees and costs;

5. Enter an award for punitive damages for the willful, wanton, and reckless behavior of
Defendants; and,

6. Any other relief this Court deems just and fit.

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Dated: October 2.2, 2021

Respectfully Submitted,

LAW OFFICES OF GARY R. CARLIN, APC

Steven T. Romeyn
Attorneys for Plaintiffs and Class members

DEMAND FOR JURY TRIAL

Plaintiffs hereby respectfully demand a jury trial.

Dated: October ‘2R._, 2021

Respectfully Submitted,

LAW OFFICES OF GARY R. CARLIN, APC

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even I. Romeyn
Attorneys for Plaintiffs and Class members

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CLASS ACTION COMPLAINT

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EXHIBIT A
Case 8:21-cv-01771-JLS-DFM Document1 Filed 10/25/21 Page 24 of 32 Page ID #:24

Smarter,
Simoler

Open Mesh helps professionals deploy intelligent WiFi
networks that build and heal themselves. It’s easy to scale
from small networks with one access point to large sites and
thousands of locations—all from a single cloud-based

dashboard.

System requirements: Security and network services: Wireless connectivity:
1. A broadband Internet connection Built-in cloud management, automatic —_—Tri-Band 802.11ac Wave 2. Single
2. The CloudTrax app ona device with _ firmware upgrades, WPA/WPA2 2.4GHz 2x2, Dual 5GHz 2x2

iOS 7 and up, Android 4.0 and up, or Personal and Enterprise, captive

a modern web browser pointed portal/splash pages, roaming, mesh, Power and environment:

to cloudtrax.com Facebook Wi-Fi, user management PoE Ethernet 1:

capabilities, and much more, 802.3af/at or Passive 48-54V=:0.6A

Cloud management: PoE Ethernet 2:
Includes lifetime cloud license. Single Warranty: Passive 18-24V == 1.34-1A (mode A, B,
point of configuration for one access 1 year limited warranty. See A+B)
point or thousands. openmesh.com/warranty. Operating temperature: 0 - 50°C
Installation:

Includes mounting kit to install indoors
(desktop, ceiling, wall or Ethernet jack)
and outdoors (wall or pole). Power

supply and PoE injector sold separately.

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EXHIBIT B
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10/22/21, 4:51 PM Datto Networking

Open Mesh is now Datto Networking. For technical support, visit the Help Center.

We've combined everything you know and love about Gpen Mesh with additional services and

pricing designed specifically for Managed Service Providers.

What you need to know:

O14

The Open Mesh product line has been merged into the Datio Networking product line and is now

available exclusively from Datto.

O02

Open Mesh Products purchased previously will continue to work as always, with included cloud

management and email-based support.

03

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Eligible partners are encouraged to transition to Datto where they will benefit from a partner-centric

pricing model that includes a lifetime warranty and 24/7/365 Direct-to-Tech support.

Questions? Continue reading or reach out directly

CONTACT US

Ready to get started with Datto Networking?

BECOME A PARTNER

What is Datto Networking?

Datto Networking is everything you love about Open Mesh:

eo

Simple, powerful cloud-management
Networks that just work

Sl

Low total cost of ownership

+

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..Plus added benefits to help your business grow:

O 9

24/71365 Direct-to-Tech support Lifetime warranty with advanced replacement

¥ t
Pricing designed for service providers More products such as LFE-enabled routers and

managed power

Frequently Asked Questions

What is the news?

We're starting the next chapter in the Open Mesh story: Open Mesh is now Datto Networking. The

Open Mesh product fine is being merged into the Datto Networking product line and will be availabie
exclusively from Datto beginning January 1, 2019. Eligible partners are encouraged to become a Datto
partner and experience the benefits of a partner-centric networking line that includes 24/7/365 direct

to tech support, lifetime product warranty, MSP-friendly pricing and more.

Why is Datto making this change?

https:/www.openmesh,com/datto-networking 37
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Open Mesh was acquired by Datto, a technology solutions provider exclusively focused on the IT
channel, in late 2016. Datto is driven to empower the world's small and medium sized businesses with
the best in enterprise-level technology, delivered through managed services providers. With that,
Datto has combined the best of Open Mesh with pricing and additional services designed specifically
for MSPs. The network landscape is evolving and Datto’s partner mode! allows for more focus on
product development and faster innovation. Along with this comes a lifetime warranty and 24/7
support and exclusive access to a growing suite of products designed to help partners grow their

businesses.

What will happen to my Open Mesh products?

We commit that existing Open Mesh networks will continue to operate like they always have and will

be supported through the life of the product. Some products may be eligible to upgrade to Datto

Networking, which includes 24/7 support, a lifetime warranty and much more. Contact us to inquire

about upgrading.
Moving forward, those that become Datto partners will have the ability to receive all product/feature
enhancements, as well as access to new products, software management tools, and new product

categories that have yet to be announced.

The end of life policy and product matrix is available here.

Can | still buy under the one-time sales model?

The one-time sales model will be available through the end of 2018 on openmesh.com and through
select distributors and resellers. Availability after January 1, 2019 will be limited to any remaining

inventory on hand through distribution and online resellers.

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Case 8:21-cv-01771-JLS-DFM Document1 Filed 10/25/21 Page 30 of 32 Page ID #:30
10/22/21, 4:51 PM Datto Networking

What is the Datto Networking pricing model?

Datto Networking pricing aligns with how a managed services provider sells its service, on a month
by month basis. There are low up-front costs, no contracts to sign, no long-term commitments, and
products are billed only if the devices are active. Contact us to learn more and a representative will

review your specific needs.

Will Open Mesh start charging a monthly fee on
devices I’ve already purchased?

No, customers will not be charged a monthly fee on devices already purchased. Any device

—.

previously purchased from Open Mesh includes a free cloud license for the life of the product. Many

products may be eligible to upgrade to Datto Networking, which includes 24/7 support, a lifetime

warranty and much more. Contact us to inquire about upgrading.

Some customers who use custom features such as APIs or custom branding may see a charge as

noted in our technical documentation. We will be reaching out to these customers directly.

I'm an MSP: how can | buy?

Become a Datto partner! Datto offers the most MSP-centric networking line in the world. Datto
partners will have access to our complete line of access points, switches, firewalls and routers,
managed power and a suite of complementary products designed to help your business grow. Not a

Datto partner yet? Apply here.

I'm an end user: how can | buy?

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Open Mesh products will be available to end-users through openmesh.com through the end of 2018
and from distributors and online resellers as long as inventory remains. As of January 1, 2019, Datto
Networking products will be available exclusively through an authorized Datto partner. For assistance

finding a tocal Datto Networking partner, click here.

I'm an ecosystem partner or software vendor: how
can | buy?

Ecosystem, software and OEM partners (such as location-based marketing, point-of-sale, lof and
managed security services providers) will continue to have access to custom services and products.

For more information, contact us.

| still have questions. Can | soeak with someone?

Of course! We’re here to help. Contact us about the transition here and we'll be in touch shortly.

Still have questions?

CONTACT US

Ready to get started with Datto Networking?

BECOME A PARTNER

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Datto Networking

Open Mesh

a datta company

Datto.com
CloudTrax Login
Help Center
Privacy Policy
Cookies Settings

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